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                 U NI T ED S TATE S DI S TR I CT C OU R T
                 F OR TH E DI S T RI C T OF C OLU MB I A

United States of America

                                        Case No. 23-cr-0050 (JMC)
      v.


Dillon Paul Homol,


             Defendant.


                     Memorandum of Law In Support of
                Defendant’s Motion to Dismiss the Indictment




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       The government indicted hundreds of people, including Defendant Dillon

Homol, with crimes allegedly committed in and around the United States Capitol

Building on January 6, 2021. Some of those charged allegedly assaulted police

officers, damaged windows or doors to force entry into the Capitol, threatened

members of Congress and the Vice President, entered the Senate chamber, or

damaged or stole property from Congressional offices or other areas inside the

Capitol.

       Mr. Homol did none of these things. Rather, the indictment alleges that Mr.

Homol only entered and paraded, demonstrated, and picketed in the Capitol without

permission which disrupted the certification of the 2020 Presidential election. From

these limited acts, the indictment alleges five different criminal charges:

Obstruction of an Official Proceeding and Aiding and Abetting under 18 U.S.C.

§ 1512(c)(2); Entering and Remaining in a Restricted Building or Grounds under 18

U.S.C. § 1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Building or

Grounds under 18 U.S.C. § 1752(a)(2); Disorderly Conduct in a Capitol Building

under 40 U.S.C. § 5104(e)(2)(D); and Parading, Demonstrating, or Picketing in a

Capitol Building under 40 U.S.C. § 5104(e)(2)(G). (D.I. 240).

       The indictment suffers from several defects. First, Count 1 charges Mr.

Homol with “corruptly” obstructing, influencing, or impeding an official

proceeding under 18 U.S.C. § 1512(c)(2):

       (c) Whoever corruptly—
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              (1) alters, destroys, mutilates, or conceals a record, document, or
              other object, or attempts to do so, with the intent to impair the object’s
              integrity or availability for use in an official proceeding; or
              (2) otherwise obstructs, influences, or impedes any official
              proceeding, or attempts to do so, shall be fined under this title or
              imprisoned not more than 20 years, or both.
The indictment, however, does not allege any corrupt act. (D.I. 240). Under

Supreme Court and D.C. Circuit Court precedent, parading, demonstrating, and

picketing are not “corrupt” acts under the statute.

       Second, the indictment is multiplicitous. Counts 2 through 5 are all different

descriptions of the same alleged facts—Mr. Homol entered the Capitol without

authorization, protested, and thereby disrupted the election certification. 1

Convicting Mr. Homol on more than one of these counts would violate the Double

Jeopardy clause by convicting him multiple times for the same offense.


I.     Legal Standard

       An indictment must provide a “plain, concise, and definite written statement

of the essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). A

valid indictment must set out “the elements of the offense intended to be charged

and sufficiently apprise the defendant of what he must be prepared to meet.” United

States v. Griffin, 549 F. Supp. 3d 49, 53 (D.D.C. 2021). The indictment also “must

state the essential elements of the crime and allegations of ‘overt acts [constituting


If the Court interprets “corruptly” under Section 1512(c)(2) so broadly as to cover
1


Mr. Homol’s alleged acts, then Count 1 is also multiplicitous.


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the offense] with sufficient specificity.’” Id. (quoting United States v. Childress, 58

F.3d 693, 720 (D.C. Cir. 1995)). Thus, a valid indictment must “(1) allege the

essential facts constituting the offense, (2) allege each element of the offense, so

that fair notice is provided, and (3) be sufficiently distinctive that a verdict will bar

a second prosecution for the same offense.” United States v. Sunia, 643 F. Supp. 51,

77 (D.D.C. 2009).


II.     Count 1 should be dismissed because the indictment does not state all
        the elements of an offense.

        A.     The government fails to allege Mr. Homol acted “corruptly”
               under 18 U.S.C. § 1512(c)(2).
        Count 1 alleges that Dillon Homol “attempted to, and did, corruptly obstruct,

influence, and impede an official proceeding, that is, a proceeding before Congress,

specifically, Congress’s certification of the Electoral College vote as set out in the

Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-

18,” which would violate 18 U.S.C. § 1512(c)(2). (D.I. 60, at 1-2.) (emphasis added).

That count should be dismissed because the indictment fails to allege any corrupt

act or motive by Mr. Homol.

        Both its plain meaning and its context show that Congress intended

“corruptly” to mean an attempt to undermine an official investigation or proceeding

through bribery, violence, or other dishonest means. Black’s Law Dictionary defines

corrupt, when used as a verb, as “[t]o change (someone’s behavior, morals, or

principles) from good to bad; to pervert the integrity of.” Black’s Law Dictionary


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(10th ed. 2009). When used as an adjective, corrupt means “having unlawful or

depraved motives; given to dishonest practices, such as bribery.” Id. Similarly,

Webster’s dictionary defines “corrupt” as “to change from good to bad in morals,

manners or actions; also BRIBE.” Merriam-Webster’s Collegiate Dictionary (11th

ed.).

        The context in which Congress used corruptly in Section 1512(c) shows

Congress intended it to mean dishonesty, bribery, witness intimidation, and other

attempts to pervert an official investigation or legal proceeding. Section 1512’s title

is “Tampering with a witness, victim, or informant.” The statute criminalizes

killing, harming, threatening to harm, or intimidating someone for these reasons:

              To prevent that person from testifying at a trial or other proceeding;

              To coerce or prevent that person from speaking to law enforcement or
               other investigators;

              To induce that person to destroy, mutilate, or falsify evidence; or

              To delay a trial or other proceeding.

18 U.S.C. § 1512. Thus, “corruptly,” in the context of Section 1512, refers to an

attempt to undermine an investigation, trial, or similar official proceeding through

bribery, violence, or other dishonest means.

        The D.C. Circuit recently addressed Section 1512(c)(2)’s “corruptly”

element in a case involving January 6, 2021, rioters. Although the panel did not

agree on the meaning of “corruptly,” Mr. Homol’s alleged acts do not satisfy the




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statute’s “corruptly” element under any of the panel’s three separate opinions. See

United States v. Fischer, Nos. 22-3038, 22-3039, 22-3041, __ F.4th __, 2023 U.S.

App. LEXIS 8284, *57-58 (D.C. Cir. Apr. 7, 2023). In Fischer, three defendants,

like Mr. Homol, accused of crimes arising from January 6, 2021, challenged

whether their indictments alleged a violation of Section 1512(c)(2). But those

defendants, unlike Mr. Homol, were charged with threatening or committing violent

acts such as brandishing weapons and assaulting police officers, and that they

committed those specific violent acts to overturn the results of the 2020 election.

Id. at *3 (finding that one defendant stated, “If Trump don’t get in we better get to

war.”).

       In the lead opinion, Judge Pan analyzed three definitions of “corruptly:”

             First, corruptly could mean an act “normally associated with
              wrongful, immoral, depraved, or evil” conduct as used in Arthur
              Andersen LLP v. United States, 544 U.S. 696, 705 (2005).

             Second, corruptly could mean acting “with a corrupt purpose through
              independently corrupt means,” as defined by Sandlin, 575 F. Supp. 3d
              at 31.

             Third, corruptly could mean an act done “voluntarily and
              intentionally to bring about either an unlawful result or a lawful result
              by some unlawful means, with a hope or expectation of either financial
              gain or other benefit to oneself or a benefit [for] another person.”
              United States v. Aguilar, 515 U.S. at 616-17 (Scalia, J., concurring in
              part).

Judge Pan ultimately concluded that he need not adopt any of these three definitions

because the defendants met any of those potential definitions. First, the defendants




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assaulted police officers, which Judge Pan found to be “wrongful, immoral,

depraved, or evil” conduct as well as “corrupt means.” Id. at *20-21 (citing Arthur

Andersen, 544 U.S. at 705). Further, the indictment alleged that the defendants

intended to “help[] their preferred candidate overturn the election results,” which

would confer a benefit on another as required by Scalia’s definition of “corruptly”

in Aguilar. Id. at 21. Thus, Judge Pan upheld the defendants’ indictments because,

under any interpretation of the term, the indictment alleged that the defendants

acted corruptly.

       In dissent, Judge Katsas also declined to define corruptly. Instead, Judge

Katsas held that Section 1512(c)(2)’s text required the government to prove that the

defendant committed some act that affected the integrity or availability of evidence

in a proceeding. Id. at *70. Without such a limitation on 1512(c)(2), no definition of

corruptly would save Section 1512(c)(2) from being impermissibly overbroad and

vague: “Rather than try to extract meaningful limits out of that broad and vague

adverb, we should have acknowledged that Congress limited the actus reus to

conduct that impairs the integrity or availability of evidence.” Id. at *117. Thus,

Judge Katsas would have dismissed the indictments on that ground.

       Judge Walker concurred with Judge Pan in upholding the indictments but

refused to join that part of Judge Pan’s opinion that “declines to decide the scope of

[Section 1512](c)(2)’s ‘corrupt[]’ mental state.” Id. at *46. Judge Walker found that




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the panel “must define that mental state to make sense of 1512(c)(2)’s act element.”

Id.

         Judge Walker found that “corruptly” under Section 1512(c)(2) means “an

intent to procure an unlawful benefit either for [one]self or for some other person.”

Id. at *47. Judge Walker reached this finding after extensively analyzing the history

of the term “corruptly” in the common law and federal statutes, the statute’s plain

language, and the statutory scheme. Id. at *43-59. A broader definition of corruptly,

Judge Walker held, would render the Section 1512(c)(2) unconstitutionally vague.

Id. at *65-67. Thus, Judge Walker held that, to prove a defendant acted corruptly

under Section 1512(c)(2), the government must show the defendant acted with “an

intent to procure an unlawful benefit either for [oneself] or for some other person.”

Fischer, 2023 U.S. App. LEXIS 8284, at *57-58. (quoting Marinello v. United States,

138 S. Ct. 1101, 1114 (2018) (Thomas, J., dissenting)) (Walker, J., concurring in

part). That includes “proof that the defendant not only knew he was obtaining an

‘unlawful benefit’ but that his ‘objective’ or ‘purpose’ was to obtain that unlawful

benefit.” Id. at *38.

         Despite applying that narrow definition of “corruptly,” Judge Walker also

found the indictments sufficient. Judge Walker found that “it might be enough for

the Government to prove that a defendant used illegal means (like assaulting police

officers) with the intent to procure a benefit (the presidency) for another person

(Donald Trump).” Id. at *67. But Judge Walker emphasized that he concurred with


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the judgment only because the indictment satisfied his definition of corruptly:

“Because I read ‘corruptly’ as courts have read for hundreds of years—and only

because I read it that way—I concur in the Court’s judgment.” Id. at *62.

       Judge Walker’s finding tracks the Supreme Court’s holding in Arthur

Anderson LLP v. United States, 544 U.S. 696 (2005). When Arthur Andersen first

learned that its audit client, Enron, might be part of an accounting scandal, Arthur

Andersen encouraged its Enron team to enforce its document retention policy of

shredding documents more than three years old. Arthur Andersen’s aggressive

shredding continued long after it knew that it would be subject to litigation and

regulatory investigations that would seek the documents being shredded.

       If it’s destroyed in the course of [the] normal policy and litigation is
       filed the next day, that’s great . . .. We’ve followed our own policy,
       and whatever there was that might have been of interest to somebody
       is gone and irretrievable.

Id. at 700. Arthur Anderson stopped shredding only when it received an SEC

subpoena.

       When Arthur Andersen’s actions emerged, the government charged and

convicted Arthur Andersen under a prior version of Section 1512. The indictment

alleged that Arthur Andersen “did knowingly, intentionally and corruptly persuade

. . . other persons, to wit: [petitioner’s] employees, with intent to cause” them to

withhold documents from, and alter documents for use in, “official proceedings,

namely: regulatory and criminal proceedings and investigations.” Id. at 702. The




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trial court used a Fifth Circuit pattern jury instruction that defined corruptly as

“‘knowingly and dishonestly, with the specific intent to subvert or undermine the

integrity’ of a proceeding.” Id. at 706. However, the trial court removed

“dishonestly” from its instruction.

       The Supreme Court overturned Arthur Andersen’s conviction because the

trial court improperly instructed the jury on the appropriate means rea—knowingly

and corruptly. The Court held that corruptly means acts “normally associated with

wrongful, immoral, depraved, or evil” conduct. Id. at 705. By changing the

definition of corruptly, the Supreme Court found that “[n]o longer was any type of

‘dishonesty’ necessary to the finding of guilt, and it was enough for the petitioner to

have simply ‘impede[d]’ the government’s factfinding ability.” Id. at 706-07. Thus,

the Supreme Court reversed Arthur Andersen’s conviction.

       Under both Fischer and Arthur Andersen, the indictment in this case fails to

allege that Mr. Homol acted corruptly. Mr. Homol’s acts do not fit the only definition

of corruptly that two judges in Fischer agreed upon: to voluntarily and intentionally

bring about either an unlawful result or a lawful result by some unlawful means,

with a hope or expectation of either financial gain or other benefit for oneself or

another person. See Fischer, 2023 U.S. App. LEXIS 8284, at *20 and id. at *46

(Walker, J., concurring). The panel upheld the indictments in Fischer because both

Judge Pan and Judge Walker found the indictments sufficiently alleged that the

defendants acted to unlawfully to secure the Presidency for Donald Trump. Unlike


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the indictments in Fischer, the indictment brought against Mr. Homol does not

allege he sought any benefit, whether to reinstate Donald Trump as President like

the Fisher defendants or any other benefit.

       Even under the broadest definition considered by Judge Pan—Arthur

Anderson’s “wrongful, immoral, depraved, or evil”—Mr. Homol’s alleged acts do

not satisfy the “corruptly” element. As Judge Pan held, to be “wrongful, immoral,

depraved, or evil,” the statute requires “an obstructive action [that] is

independently unlawful—i.e., an independently unlawful act is necessarily

‘wrongful’ and encompasses a perpetrator’s use of ‘independently corrupt means’

or ‘an unlawful method.’” Fischer, 2023 U.S. App. LEXIS 8284, at *20. The

indictment against Mr. Homol alleges only that he engaged in disorderly conduct—

by picketing, protesting, or demonstrating—in the Capitol Building which disrupted

the Presidential certification. But protesting, picketing, and demonstrating are

Constitutionally protected activities that are not inherently “wrongful, immoral,

depraved or evil.” Mr. Homol’s alleged actions violated the law only because he did

them in the Capitol. Thus, the indictment fails to allege a corrupt act.


       B.     Alternatively, Count 1 must be dismissed because the mens
              rea—corruptly—is unconstitutionally vague.
       Alternatively, Count 1 should be dismissed because it is unconstitutionally

vague. A criminal law violates the Due Process Clause if it is “so vague that it fails

to give ordinary people fair notice of the conduct it punishes, or so standardless that



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it invites arbitrary enforcement.” Johnson v. United States, 576 U.S. 591, 595

(2015).

       As used in Section 1512(c)(2), the term “corruptly” is so ambiguous that Mr.

Homol cannot determine what mens rea the indictment alleges. The Court need only

read the D.C. Circuit panelists’ struggle in Fischer to define “corruptly.” Of the

three panelists, two—the lead and the dissenting opinions—refused or failed to

define corruptly. Instead, the lead opinion considered three different possible

definitions. Although the concurring opinion adopted one of the lead opinion’s

possible choices, the lead and concurring judges could not agree on whether that

agreed-upon definition bound future D.C. Circuit panels. In a footnote, Judge

Walker wrote that, because his opinion upheld the convictions using the narrowest

definition of corruptly, it bound future panels. Fischer, 2023 U.S. App. LEXIS 8284,

at *68 n.10. But Judge Pan disputed Judge Walker’s claim because no two judges

specifically adopted Judge Walker’s definition. Id. at *24 n.5. Thus, the lead and

concurring judges disagreed about whether they agreed!

       Given the panelists’ fractured findings in Fischer, Mr. Homol cannot know

what the government must prove to satisfy the “corruptly” element. Must it meet

one of the three standards in Judge Pan’s opinion, the standard adopted by Judge

Walker, or some other standard? The Fischer panelists themselves could not agree

on this question. Without an adequate answer, Mr. Homol cannot effectively prepare

his defense because he is not on fair notice of what conduct is being punished. Under


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the current state of the law, the “corruptly” element is so standardless that the

government is free to seek arbitrary enforcement of Section 1512(c)(2).


       C.      Count 1 should be dismissed because it fails to allege that Mr.
               Homol tampered with or destroyed any evidence.
       Count 1 should also be dismissed because it fails to allege a violation of

Section 1512(c)(2). Section 1512(c) authorizes imprisonment for “[w]hoever

corruptly … obstructs, influences, or impedes any official proceeding, or attempts to

do so, shall be fined under this title or imprisoned not more than 20 years, or both.”

       As explained above, Section 1512 generally addresses attempts to interfere

with a judicial or other evidentiary hearing or proceeding. See § I.A, supra. For that

reason, the dissent in Fischer agreed with the trial court that, in the context of

Section 1512 overall and Section 1512(c), Section 1512(c)(2) was limited to

criminalizing acts of evidence spoliation. Fischer, 2023 U.S. App. LEXIS 8284, at

*69-70. Judge Katsas found that Section 1512(c)(1) limits the acts forbidden under

(c)(2) to those similar to the acts listed in (c)(1). Id. at *70. To interpret (c)(2) as a

broad, catchall phrase renders “[S]ection 1512(c) implausibly broad and

unconstitutional in a significant number of its applications.” Id.

       The indictment does not allege that Mr. Homol destroyed, altered, or

otherwise prevented anyone from introducing evidence in an official proceeding.




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Thus, it fails to allege a violation of Section 1512(c)(2) and that count should be

dismissed.2


III.      Counts 2 through 5 Are Multiplicitous Because Each Would Punish
          Mr. Homol for the Same Alleged Act—Entering the Capitol Building
          to Protest the Presidential Certification.
          The Fifth Amendment’s double jeopardy clause protects “not only against a

second trial for the same offense, but also against multiple punishments for the same

offense.” United States v. Weathers, 493 F.3d 229, 233 (D.C. Cir. July 17, 2007)

(internal quotation marks omitted). Thus, an indictment in which “a single offense

is alleged in a number of counts, unfairly increasing a defendant’s exposure to

criminal sanctions” is multiplicitous and defective. United States v. Harris, 959

F.2d 246, 250 (D.C. Cir. 1992). A multiplicitous indictment “improperly

prejudice[s] a jury by suggesting that a defendant has committed not one but several

crimes.” United States v. Reed, 639 F.2d 896, 904 (2d Cir. 1981). To determine

whether two or more counts of an indictment allege the same crime, the Court must

decide “whether each [count] requires proof of a fact which the other does not.”

Blockburger v. United States, 284 U.S. 299, 304 (1932).

          Despite using different language, the indictment brings several different

counts for the same series of alleged acts.



2
 Although Judge Katsas’s opinion was in dissent, Mr. Homol presents the
argument here to preserve it in case the D.C. Circuit sitting en banc or the Supreme
Court overrules Fischer.


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             First, Count 2 alleges that Mr. Homol entered the Capitol without
              permission;

             Second, Count 4 and Count 5 allege that, after entering the Capitol,
              Mr. Homol engaged in disorderly conduct—parading, demonstrating,
              and picketing;

             Third, Count 3, and possibly Count 1 (depending on how the Court
              interprets “corruptly”), allege that Mr. Homol’s parading,
              demonstrating, and picketing disrupted the Presidential Certification
              process.

(D.I. 240). Thus, the same facts that would satisfy the elements of Count 3 (and

possibly Count 1) would also satisfy the elements of every other Count. If Mr. Homol

is convicted of the only acts alleged in the indictment—that he willingly entered the

Capitol building to parade, demonstrate, and picket to disrupt the certification

process—Mr. Homol will be convicted for four or five separate offenses for the same

alleged crime. Those convictions would violate the Fifth Amendment’s double

jeopardy clause. The Court should dismiss the indictment and order the government

to merge Mr. Homol’s alleged acts into a single count if he is re-indicted.

                                     Conclusion

       The January 6, 2021, riot at the Capitol Building was a dark day in this

nation’s history. Nevertheless, that bleak fact does not authorize the government to

file charges under inapplicable or vague statutes, or to pile on multiple charges for




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the same conduct. For that reason, Mr. Homol asks that this Honorable Court

dismiss the indictment against him.

Dated: June 2, 2023                   Respectfully Submitted,


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                               Certificate of Service

       I certify that on June 2, 2023, the foregoing Memorandum of Law In

Support of Defendant’s Motion to Dismiss the Indictment was served on the

following via the Court’s electronic filing system:

       Elizabeth Nash Eriksen
       DOJ-Criminal Division
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                                              William DeVinney
